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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2
     MARY M. FRENCH, Bar #126643
3    Supervising Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant                             OK/HAV
     SMILEY ISIDRO JUAREZ
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-06-0187 DFL
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
14        v.                         )     CONTINUING STATUS CONFERENCE
                                     )
15   SMILEY ISIDRO JUAREZ, et al.,   )
                                     )     Date: August 10, 2006
16                  Defendants.      )     Time: 10:00 a.m.
                                     )     Judge: Hon. David F. Levi
17   _______________________________ )
18
          It is hereby stipulated between the parties, Mary Grad, Assistant
19
     United States Attorney, attorney for plaintiff, Mary M. French,
20
     attorney for defendant Smiley Isidro Juarez, Dina Lee Santos, attorney
21
     for defendant Sheena Patrice Avila and Candace A. Fry, attorney for
22
     defendant Ida Marie Martinez, that the Status Conference hearing date
23
     of June 29, 2006, is vacated and a new Status Conference hearing date
24
     of August 10, 2006 at 10:00 a.m. is hereby set.
25
          This continuance is requested because counsel for defendants are
26
     in the process of requesting and reviewing defendants’ records and
27
     discovery, and, further, the parties are working on a resolution of the
28
             Case 2:06-cr-00187-TLN Document 21 Filed 06/29/06 Page 2 of 3


1    matter.
2          It is further stipulated that the period from June 29, 2006
3    through and including August 10, 2006 should be excluded pursuant to
4    18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
5    counsel and defense preparation.
6    Dated: June 28, 2006
7                                             Respectfully submitted,
8                                             DANIEL J. BRODERICK
                                              Federal Defender
9
                                              /s/ Mary M. French
10                                            ________________________________
                                              MARY M. FRENCH
11                                            Supervising Assistant
                                              Federal Defender
12                                            Attorney for Defendant
                                              SMILEY ISIDRO JUAREZ
13
     Dated: June 28, 2006                     /s/ Mary M. French for
14                                            Candace A. Fry
                                              _________________________________
15                                            CANDACE A. FRY
                                              Attorney for Defendant
16                                            IDA MARIE MARTINEZ
17   Dated: June 28, 2006                     /s/ Mary M. French for
                                              Dina Lee Santos
18                                            _________________________________
                                              DINA LEE SANTOS
19                                            Attorney for Defendant
                                              SHEENA PATRICE AVILA
20
21
22   Dated: June 28, 2006                     MCGREGOR W. SCOTT
                                              United States Attorney
23
24                                            /s/  Mary M. French for
                                                   Mary Grad
25                                            ________________________________
                                              MARY GRAD
26                                            Assistant U.S. Attorney
                                              per telephonic authorization
27
28   //


     Stip & Order as to 06-187                2
             Case 2:06-cr-00187-TLN Document 21 Filed 06/29/06 Page 3 of 3


1                                           ORDER
2    IT IS SO ORDERED.
3    Dated: 6/29/2006
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5
6                                                 DAVID F. LEVI
7                                                 United States District Judge

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     Stip & Order as to 06-187                3
